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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

       vs.                                                          No. 1:18-cr-02945-WJ

JANY LEVEILLE,
SIRAJ IBN WAHAJ,
LUCAS MORTON,
HUJRAH WAHHAJ, and
SUBHANAH WAHHAJ,

               Defendants.

               ORDER GRANTING UNITED STATES’ MOTION FOR
         PRETRIAL CONFERENCE PURSUANT TO 18 U.S.C. APP. III (CIPA)
                   SECTION 2 AND MOTION TO DESIGNATE
           A CLASSIFIED INFORMATION SECURITY OFFICER (“CISO”)

       THIS MATTER is before the Court on the United States’ Motion for Pretrial Conference

Pursuant to 18 U.S.C. App. III (CIPA) Section 2 and Motion to Designate a Classified Information

Security Officer (“CISO”) (Doc. 489). Defendants Hujrah Wahhaj, Siraj Wahhaj, and Subhannah

Wahaj assert their speedy trial rights but do not oppose granting of the Motion. (Dox. 526). The

remaining Defendants have not taken a position on the Motion. The Court grants the motion and

designates a CISO for this case. The Court will schedule a pretrial conference at a later date.

       The United States’ Motion asks the Court to designate Connor B. Morse, Security

Specialist for the position of CISO for this case. (Dox. 489 at 17). The Motion also requests

designation of the following Security Specialists as alternative CISOs, to serve in the event that

Mr. Morse is unavailable: Daniel O. Hartenstine, Patrice E. King, Daniella M. Medel, Matthew

W. Mullery, Carli V. Rodriguez-Feo, Harry J. Rucker, Winfield S. "Scooter" Slade, and Abigail J.



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Trzyzewski. (Doc. 489 at 17). The Court notes that Conner B. Morse has already been designated

as the CISO and all of the alternates except for Mr. Rucker have been designated pursuant to

Section 9 of CIPA for another pending case in this District, United States v. Wilson, No. CR 22-

01405 WJ. The Court finds that they are familiar with the District’s practices and procedures,

qualified to serve, and will be appointed in this case pursuant to Section 9 of CIPA. 18 U.S.C.

App. III § 9.

        IT IS ORDERED:

        (1) the United States’ Motion for Pretrial Conference Pursuant to 18 U.S.C. App. III

(CIPA) Section 2 and Motion to Designate a Classified Information Security Officer (“CISO”)

(Doc. 489) is GRANTED;

        (2) Pursuant to Section 9 of CIPA, the Court hereby designates Connor B. Morse, Security

Specialist for the position of the CISO for this case. The Court further designates the following

Security Specialists as alternative CISOs, to serve in the event that Mr. Morse is unavailable:

Daniel O. Hartenstine, Patrice E. King, Daniella M. Medel, Matthew W. Mullery, Carli V.

Rodriguez-Feo, Harry J. Rucker, Winfield S. "Scooter" Slade, and Abigail J. Trzyzewsk; and

        (3) the Court will set a CIPA pretrial conference pursuant to 18 U.S.C. App. III § 2 at a

later date.




                                             ______________________________________
                                             CHIEF UNTIED STATES DISTRICT JUDGE




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